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 9                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
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11
      Scott Johnson,                                   Case No. 3:21-cv-07000-VC
12
13                Plaintiff,                           Motion for Administrative Relief
14                                                     Requesting Case Management
         v.                                            Conference Pursuant to General
15                                                     Order 56

16    George R. Zorb
                                                       Hon. Vince Chhabria
17
                                                       Hon. Susan Van Keulen
18                Defendant.

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20            Plaintiff Scott Johnson, through his counsel of record, hereby requests that a Case
21   Management Conference be set for the above entitled matter. The parties attended the

22   mediation on February 11, 2022, and were unable to reach a resolution. The mediation was
     certified as complete on February 11, 2022. Dkt. 23. Further mediation would not be
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     productive until discovery has been at least partially completed and a motion for summary
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     judgment has been filed. Accordingly, Plaintiff requests that a Case Management Conference
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     be set.
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     Motion for Administrative Relief Requesting CMC       1        Case No. 3:21-cv-07000-VC
 1   Dated: February 16, 2022                          CENTER FOR DISABILITY ACCESS
 2
                                                       By:/s/Prathima Price
 3                                                      Prathima Price, Esq.
 4                                                      Attorney for Plaintiff

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     Motion for Administrative Relief Requesting CMC   1         Case No. 3:21-cv-07000-VC
